      Case 1:13-cv-09195-LAP Document 296 Filed 01/11/21 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DEBORAH D. PETERSON, et al.,

                    Plaintiffs,

-against-
                                             13 Civ. 9195 (LAP)
ISLAMIC REPUBLIC OF IRAN; BANK
MARKAZI, a/k/a CENTRAL BANK OF                       ORDER
IRAN; BANCA UBAE SpA;
CLEARSTREAM BANKING, S.A.; and
JP MORGAN CHASE BANK, N.A.,

                    Defendants.



LORETTA A. PRESKA, Senior United States District Judge:

    On March 4, 2021 at 10:00 a.m. EST, Counsel shall appear

for oral argument on Plaintiffs’ Motion for Summary Judgement

or, in the alternative, for a Preliminary Injunction (dkt. no.

225); Clearstream Banking S.A.’s Motion to Dismiss the Amended

Complaint (dkt. no. 251); Bank Markazi’s Motion to Dismiss the

Amended Complaint (dkt. no. 238); and Banca UBAE S.p.A.’s Motion

to Dismiss the Amended Complaint (dkt. no. 246).

    Oral argument will take place by videoconference.           In

advance of argument, the Court will communicate separately to

counsel information for joining the videoconference.          Members of

the public may listen in on oral argument using the following

listen-only conference line: (888) 363-4734, access code:

4645450.
         Case 1:13-cv-09195-LAP Document 296 Filed 01/11/21 Page 2 of 2



    The parties shall confer and inform the Court how they

propose to apportion time for oral argument.

    SO ORDERED.

Dated:       New York, New York
             January 11, 2021


                               __________________________________
                               LORETTA A. PRESKA
                               Senior United States District Judge
